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            Exhibit 30
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                                           UNITED STATES PATENT AND TRADEMARK OFFICE
                                           Trademark Trial and Appeal Board
                                           P.O. Box 1451
                                           Alexandria, VA 22313-1451
                                           General Contact Number: 571-272-8500



                                            Mailed: November 7, 2016

                                            Cancellation No. 92059947

                                            Industria de Alimentos Zenu S.A.S.

                                                   v.

                                            Latinfood U.S. Corp. dba Zenu Products Inc.


   Amy Matelski, Paralegal Specialist:


      Petitioner’s motion (filed October 6, 2016) to suspend this proceeding pending

   final determination of Civil Action No. 2:16-cv-06576 filed in the United States

   District Court District of New Jersey is granted as conceded. See Trademark Rules

   2.127(a) and 2.117(a).

      Accordingly, proceedings are suspended pending final disposition of the civil

   action.

      Within twenty days after the final determination of the civil action, the parties

   shall so notify the Board so that this proceeding may be called up for appropriate

   action.1 Such notification to the Board should include a copy of any final order or

   final judgment which issued in the civil action.


   1 A proceeding is considered to have been finally determined when an order or ruling that
   ends litigation has been rendered, and no appeal has been filed, or all appeals filed have
   been decided and the time for any further review has expired. See TBMP § 510.02(b).
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   Cancellation No. 92059947


      During the suspension period, the parties must notify the Board of any address

   changes for the parties or their attorneys. In addition, the parties are to promptly

   inform the Board of any other related cases, even if they become aware of such cases

   during the suspension period. Upon resumption, if appropriate, the Board may

   consolidate related Board cases.




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